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fully employed. In its early use, the system was able to capture data on a subset of
referrals, but not all referrals.

QITs chartered by the mental health quality management committee
generally focused on CAP items but did not always function as intended. QIT charters
did not contain all of the elements specified in quality assurance protocols used by the
department. Methodology, aggregation of data, analyses and proposed remedies were
often absent. Monthly chart reviews were conducted, and results were forwarded to
DCHCS.

After a programming error was corrected in late 2005, the MHTS proved
more useful to QITs and supervisors who audited program indicators weekly. The results
of quality assurance and supervisory audits were communicated to mental health staff
individually and during staff meetings. Supervisors found the quality assurance
mechanism helpful in identifying problems as they arose. Psychologists and social
workers engaged in peer review, and psychologists also held case conferences and trained
interns. Reports of peer review activities were forwarded to the institution’s clinical
performance enhancement and review committee. Psychiatrists did not meet as a group
for peer review because there was only one staff psychiatrist in the institution, plus the
chief psychiatrist.

Medication Management:

Medication management continued to improve. The presence of more
MTAs and RNs made an impact, as did the institution’s ability to procure contract
psychiatrists. Improvements in tracking and auditing made during the preceding

monitoring period resulted in more timely administration of medication. An August audit

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found that 96 percent of newly arrived inmates received their medications without
interruptions, while continuity following intra-institutional transfers reached 100 percent.
Other audits conducted across a broader stretch of time found more modest gains. The
latter indicated that from 15 to 26 percent of inmates arriving with current medication
orders from another CDCR prison experienced an initial gap in excess of 24 hours. For
inmates moving between locations within the prison, gaps longer than 24 hours occurred
12 to 30 percent of the time, although continuity of medication for inmates discharged
from the MHCB improved. Institutional audits found that medication continuity for
those inmates was sustained at 90 to 100 percent from May through August. Problems
with the processing of medication orders were apparent in institutional audit results that
showed 13 to 28 percent of orders for changes in medication took longer than 24 hours to
fill.
There were problems particularly with the renewal of medication orders.

Some 27 percent of medication orders lapsed inadvertently on the yard with the worst
performance in renewing expiring medication orders. Institutional audits found that
approximately 20 percent of orders for psychotropic medication were renewed without
patient contact. In a move endorsed by DCHCS, SVSP staff for a time were authorized
to write psychotropic medication orders for as long as 180 days. An institutional audit
found that 25 to 30 percent of changes in a medication regimen were not explained by a
documented rationale.

Late in the monitoring period, an innovative method was adopted for

notifying mental health staff of changes in the location of caseload inmates. Staff

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reported that the new method immediately resulted in improved medication continuity
and more timely case management contacts for inmates transferred within the facility.

Referrals for non-compliance were made and noted on MARs. Mental
health staff received referrals and usually made contact with inmates. No audits were
conducted to determine whether all non-compliant inmates were actually referred to
mental health.

The institution did not maintain a list of inmates on DOT medications.
Reportedly, DOT was the practice for the delivery of psychotropic medications to all
general population EOP inmates. Staff reported that DOT and nurse-administered
procedures were observed periodically by supervisors. Supervisors also audited MARs
weekly. Administrators reported that medication errors were tracked, but apparently no
mechanism existed for following up on reported errors.

MARs were filed more often in inmates’ UHRs. MARs contained patterns
of blanks; some were illegible. No-shows and refusals were noted on MARs. The old
MAR form remained in use, a practice attributed to limitations in the pharmacy. SVSP
revised and improved its informed medication consent form. An institutional audit found
informed medication consent forms missing for approximately 30 percent of reviewed
medication orders.

Beginning in April 2005, SVSP maintained a log of inmates with current
medication orders who left on parole. The log reflected receipt and refusal of discharge

medications. The completeness of the list of paroling inmates was assumed but had not

been audited.

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Compliance with requirements for laboratory blood-work remained poor.
Tracking records for Keyhea orders improved, but the process itself was flawed. Thirty-
six inmates had current Keyhea orders, but the absence of a DOT list meant that inmates
at a 3CMS level of care with a Keyhea order could easily be missed by personnel
distributing medications. Two Keyhea petitions, moreover, lapsed during the monitoring
period because the coordinator overlooked them. A single psychiatrist based in the
MHCB unit provided all Keyhea-related testimony. His decisions and testimony were in
some cases contrary to that of the treatment team, reportedly because he relied heavily on
subjective information rather than a review of records and the treatment team’s findings
and treatment approaches.

Mental Health Assessments for the Disciplinary Process:

SVSP continued to compile logs and gather necessary information on
RVRs written for caseload inmates. While some improvements occurred, significant
omissions in documentation and practice remained. Roughly 2,500 RVRs were issued
during the first nine months of 2005. Approximately 1,839 were issued between January
1 and June 30, with caseload inmates incurring 493, or 26.8 percent, of the violations.
Mental health assessments were requested in 155 of these cases. Although the
distribution between 3CMS and EOP inmates among the assessments completed was not
tracked, the data suggested that 3CMS inmates were being referred for mental health
assessments more often than in the past. In a subset of RVRs for August and September,
446 RVRs were issued, 200 of which involved caseload inmates. EOP and MHCB
inmates accounted for 75 of the 200 RVRs, while 125 were issued to 3CMS inmates.

Mental health assessments were requested in 15 of the 125 RVRs (12 percent) for 3CMS

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inmates. In four cases involving EOP inmates, the monitor found that the adjudication
process was completed without the absence of an assessment being noted.

Mental health assessments were not always completed in a timely manner.
Most assessments provided relevant information in understandable lay language. Mental
health factors were found to be influential in fewer than half of the assessed cases. Most
assessments offered information about or recommendations for the sanctions that might
be imposed and sometimes discussed the likely effect of different sanctions on the
inmate. The monitor’s review of a sample of ten RVRs found that the hearing officer
documented the presence of a mental health assessment but did not describe its impact on
the disposition in two cases.

SVSP encouraged staff to refer all caseload inmates charged with sexual
misconduct for a mental health assessment. During the first six months of 2005, 41
RVRs were issued for sexual misconduct. Eighteen were issued in the D-Yard, where all
EOP inmates and caseload inmates in administrative segregation were housed. In all but
four cases, mental health assessments were requested. The institution implemented its
directives on the handling of inmate sexual misconduct in the middle of July but did not
then begin to compile information on completed mental health screenings. Staff reported
that all cases were screened, but none was found to warrant further examination. The
monitor’s review of five cases of indecent exposure found that the inmates in four were
screened, although two of the screenings did not occur within 72 hours of the incident. In
August or September, the institution reissued and reheard an RVR for indecent exposure

because a mental health assessment had not been requested.

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SVSP referred 76 cases involving caseload inmates to the local DA during
the first six months of 2005. Sixty of the cases involved 3CMS inmates; sixteen, EOP
inmates. Over half of the cases (37) involved sexual misconduct. The overall number of
DA referrals, as well as the number of referred sexual misconduct offenses, was among
the highest out of any CDCR institution.

Transfers:

MHCB records were well organized and fairly complete. The institution
maintained three computerized logs of preadmission evaluations, admissions, length of
stays and dispositions, plus a manual nursing log of admissions and discharges. Minor
discrepancies occurred among the records, but together they portrayed a consistent
overall picture of operations in the MHCB. The CTC at SVSP had 24 licensed beds, half
of which were allocated for the MHCB unit. In November 2005, staff reported that up to
14 beds were available for MHCB inmates. By January 2006, the MHCB capacity was
reduced to 12, reportedly because two beds needed to be reserved for the observation of
inmates discharged from safety cells, although one would assume that more often than
not these inmates were also on the MHSDS caseload.

According to one log, 290 inmates were admitted to the MHCB unit
between April 1 and November 5, 2005. The length of stays ranged from one to 30 days.
Roughly 25 percent of stays lasted ten days or longer. Eight inmates had three or more
admissions each. During this seven-month period, 139 bed-days were lost because
inmates, who no longer clinically needed of a crisis bed, were not moved elsewhere
promptly.

Despite repeated clarifications, misconceptions among both clinical and

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custody staff in the MHCB unit led to some troubling practices, including the use of in-
floor toilets and the failure to provide mattresses and safety smocks or blankets to
inmates in CTC safety cells. An erroneous assumption existed that once an inmate was
housed in a safety cell, he had to remain there for 72 hours. Inmates reportedly attended
IDTT meetings dressed only in undergarments.

Staff reported that eight cells in the mental health portion of the CTC were
equipped with video-monitoring cameras. Two other cells directly across from the
nursing station also had cameras. The cameras reportedly had been installed in
diagonally opposite corners to avoid blind spots. Staff asserted that video monitoring
was used only to supplement one-to-one human observation during suicide watches.
SVSP was also considering installing cameras in its two safety cells.

During the monitoring period, over 150 inmates clinically referred to a
MHCB were not admitted to the MHCB unit because of a lack of available beds. The
institution used several alternatives to house these inmates for whom no MHCBs were
available. A combination of four holding cells and waiting rooms located in the CTC
were used first. When these were occupied or otherwise unavailable, inmates were
placed outside of the CTC in BPT interview rooms. There were two BPT interview
rooms on each yard for a total of eight. The next alternative was “dry” holding cells
located in a visiting area on each yard, which lacked toilets or running water. As a last
resort, inmates were placed in one of three holding cells located next to the CTC. Those
holding cells, known among inmates and staff as “cages,” were two-square-foot mesh
enclosures without a seat. Logs indicated that these cells were rarely used for inmates

awaiting a MHCB bed, and institutional policy limited their use to four-hour stretches.

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Also, bag lunches, rather than hot food, were provided to inmates in these alternative
locations awaiting a crisis bed.

The staff compiled a record of the use of the alternative housing locations
throughout the institution. During a five-month period spanning August 10, 2005
through January 12, 2006, the alternatives were used to house 153 referrals to an
unavailable MHCB. The log did not record time of day of each placement, and the length
of stays was measured simply by dates. About half of the admissions to the alternatives,
74, were for one day or less. Fifty admissions spanned two days; 20 spanned three to five
days; one was eight days in duration. Staff reported that inmates who never reached a
crisis bed were followed-up as if they had been admitted to the MHCB. Suicide risk
assessment checklists were completed. Five-day follow-up was done as clinically
warranted.

Access to DMH acute care was adequate. During the period from July 1
to October 31, 2005, the institution generated 16 referrals to the APP/DMH at CMF. All
referrals were accepted and resulted in transfers. In August, DMH reportedly stopped
informing the institution promptly of decisions to accept referrals. Instead, decisions on
acceptance were communicated to the institution only when beds became available.
Consequently, the referral log did not record different dates for acceptance and the
assignment of a bed number. According to the log, the average delay between referral
and transfer was 7.3 days. All but one of the transfers were completed within 72 hours
of the simultaneous acceptance and receipt of a bed number. In eight of the 16 cases
referred cases, SVSP clinicians waited longer than ten days to refer the inmate for DMH

acute care.

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Access to the DMH intermediate inpatient care program in SVSP, the
SVPP, continued to be slow in most cases. After identifying the need for intermediate
care, it took, on average, four months to effect the transfer of an inmate to the program.
During the monitoring period, the institution generated 26 referrals to SVPP. Thirteen
were accepted and resulted in transfer. Staff took more than a month, 35 days on
average, to prepare and submit SVPP referrals. The average lapse between referral and
transfer was 82 days, ranging from eight to 176 days.

MHCB staff reported that the institution was not always apprised of
inmates returning from APP/DMH. Discharge summaries were not always received via
fax by the contact person at SVSP in advance of an inmate's return. UHRs belonging to
inmates discharged from DMH/APP usually contained discharge summaries.

In January 2006, several MHCB beds were occupied by inmates awaiting
admission to the SVPP. Staff also reported that several inmates discharged from the
SVPP were awaiting their return to SVSP. A planned exchange had not yet taken place.
The result was the utter misuse of SVPP beds and SVSP MHCBs.

Other CAP Issues:

a. Partial Compliance

Tracking of referrals by staff and inmates improved as a pilot program
involving a better method for tracking referrals was implemented. Distinctions between
routine and urgent referrals were not yet tracked accurately by MHTS, nor had the
referral mechanism matured sufficiently to capture all referrals.

Treatment plans were usually updated annually for 3CMS inmates housed

in the general population. IDTT meetings held there were attended regularly by a full

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team. Due to staffing shortages, meetings were attended by a psychiatrist, but only rarely
by the treating psychiatrist for the inmate being reviewed. Medical records and C-files
typically were present. Full compliance was not achieved because one case manager’s
annual reviews were untimely.

Case managers did not meet with caseload inmates in administrative
segregation weekly or as often as clinically warranted due largely to clinical staffing
shortages. Caseloads sizes for clinicians in administrative segregation ranged from 35 to
52 for both the EOP and 3CMS levels of care, despite court, program guide and
departmental policy requirements limiting EOP administrative segregation caseloads to
nine inmates. Progress notes indicated that case managers were familiar with inmates on
their caseloads. Severely ill inmates in administrative segregation were identified and
referred for more intensive treatment when warranted. Documentation of psych tech
rounds was not filed in UHRs for a period of time. Once discovered, the omission was
remedied. IDTT meetings held for caseload inmates housed in administrative segregation
were inconsistent with program guide requirements and did not precede ICC meetings.
The initial IDTT meeting was not attended by a full team, nor was there sufficient time
before the initial IDTT to develop an individualized formulation of treatment needs and
plans. The staff’s reasonable solution to the problem included an initial truncated IDTT
held in advance of the ICC meeting followed within two weeks by a meeting attended by
a full team. Treatment plans were individualized. The holding cells used for EOP
treatment sessions in administrative segregation were problematic. The arrangement of
the cells, the physical characteristics of some cells, poor sightlines, glare and high levels

of ambient noise undermined groups that relied on videos and discussion. Inmates who

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attended group treatment did not wear outer garments, while those participating in ICC
hearings and IDTT meetings or going out to yard wore outer garments borrowed from a
common stockpile.

The amount of treatment delivered in the general population EOP
declined. Mental health staff compiled detailed information on missed mental health
contacts and their causes. As many as 30 percent of EOP inmates were not seen weekly
in July and August 2005. In May, June and September only eight, 13, and 11 percent,
respectively, of weekly individual appointments with EOP inmates were missed.

b. Non-Compliance

Ten hours of structured therapeutic activities were not provided weekly to
participants in the general population EOP. Programming was too frequently cancelled
by irregular institutional routines and shortages of clinicians. The amount of group
treatment provided to 3CMS inmates was also inadequate. Due to lockdowns, rolling
lockdowns, modified program days and cancellations, few group sessions actually met.
Weekly case manager contacts were not made with 3CMS inmates housed in
administrative segregation.

Psychiatric coverage was erratic as psychiatrists were deployed throughout
the institution to meet the most pressing demands of the day. Inmates regularly were
seen by different psychiatrists. The quality of psychiatric input in IDTT meetings was
compromised accordingly, as was continuity of care. Inmates reported that changes in

medication at times seemed arbitrary.

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Inmates in administrative segregation who needed more intensive treatment or higher
levels of care were identified and transferred, albeit sometimes slowly, but clinical
contacts with caseload inmates in administrative segregation were often untimely and the
provision of structured therapeutic activities for EOP administrative segregation inmates
was inadequate.

The immediate challenge for SVSP was to sustain routine institutional
operations while bringing in enough clinical staff to recover lost ground. Some problems
were clearly within SVSP’s capacity to resolve quickly, such as providing basic
necessities like mattresses and a blanket or sheet to MHCB inmates on suicide watch and
proper clothing to caseload inmates in administrative segregation. Many others were
related to the revisions occurring in the institution’s mission within a rapidly changing

CDCR.

California Training Facility, Soledad (CTF)

Paper Review

Positions for a psychologist and two psych techs were vacant but were
amply covered by case manager contractors. A few auxiliary staff positions were vacant,
specifically one pharmacy position and one medical records position. In addition, one
pharmacy employee was on leave. Contractors covered 1.5 of the vacant pharmacy
positions.

CTF’s clinical staff had been stable for some time, but one personnel
change during the monitoring period diminished at least temporarily the institution’s
auditing abilities. The staff psychologist responsible for conducting CTF’s audits over
the past three years retired in May 2005. After his departure, responsibility for quality

assurance process was shared between a newly hired psychologist and a psych tech, but

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the psych tech was expected shortly to transfer elsewhere and the psychologist wanted to
return to clinical work on a part-time basis. The institution was, therefore, again looking

for someone to coordinate its quality assurance process.

Issues Resolved:

EOP inmates received weekly case management contacts.

Signed informed medication consent forms were consistently obtained
from inmates and filed in UHRs.

Psychiatrists no longer renewed medication orders without inmate contact.

Inmates received good psychiatric follow-up after medications were
initiated or changed.

Clinicians were aware of and responded to medication side effects.
Medications generally were not changed without a rationale.
Psychiatric responses to referrals were timely.

IDTT meetings were consistently held before discharging inmates from
the OHU.

Quality Management:

The quality assurance process at CTF deteriorated during the latter half of
the monitoring period after the institution’s long-time compliance coordinator retired, as
noted above. Auditing of most CAP items ceased, and the institution was unable to
confirm compliance with many medication management practices. The institution was
seeking a permanent replacement but, in the interim, quality assurance efforts at CTF
struggled.

The suicide prevention committee met monthly from March through
October 2005, and minutes of the meetings were maintained. The composition of the

committee was good, and discussions typically usually included a review of suicide

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attempts, suicide precautions and suicide watches that occurred in the institution. The
minutes, however, did not provide a complete record of suicide attempts.

Medication Management:

Problems with medication continuity on arrival were considered resolved
in the preceding monitoring report, but compliance recently declined. An institutional
audit of 185 charts of inmates arriving at CTF with valid orders for psychotropic
medications found that only 71 percent received their prescribed medications in a timely
manner. Medication continuity for inmates changing housing locations was not a
problem at CTF because all inmates, regardless of their housing unit, received their
medications at one of two adjacent indoor pill windows. No information was provided
with respect to continuity of medication on the renewal of medication orders, although
audits conducted during the preceding monitoring round showed timely medication
renewals.

A QIT was chartered to address problems noted during the preceding
monitoring period with medication non-compliance. New procedures were established to
strengthen follow-up, but no audits had been conducted to assess implementation.

CTF continued to provide adequate laboratory testing of inmates on mood-
stabilizing medications. An institutional audit of 88 inmates found that blood tests were
timely ordered, drawn, returned and reviewed for roughly 88 percent of the audited
inmates. This issue will be resolved if compliance continues at this level.

According to an institutional list, 235 inmates were paroled from CTF
with current orders for psychotropic medications during the monitoring period. The

institution had a reasonable process in place for ensuring that paroling inmates received a

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30-day supply of these medications, but no proof was submitted to show that inmates
consistently received the appropriate medications upon parole.

Some progress had been made in providing inmates with HS medications.
CTF began again to order HS medications as of August 1, 2005, and procedures
reportedly were established as of that date for the distribution of HS medications after
8:00 p.m. According to the MHTS, HS medications were prescribed for 59 inmates. The
institution, however, did not provide documentation to confirm that the medications were
actually distributed after 8:00 p.m.

Little change occurred in the monitoring of medication errors. Procedures
for reporting medication errors were in place, but it was unclear whether the low number
of reported mistakes accurately reflected the actual error rate at CTF. A medication error
report covering the preceding ten months listed just ten errors.

Psychotropic medications were almost always nurse-administered, but an
occasional inmate was designated to receive his medications DOT. One inmate was so
designated in November 2005. DOT inmates reportedly received their medications at the
regular pill window. When DOT inmates failed to show up at the pill window, they were
tracked down and escorted by the DOT nurse to the pill window. The institution failed to
provide a description of the process by which DOT was prescribed or offer proof of DOT
practices with regard to inmates on DOT orders.

No inmates in CTF were on Keyhea orders during the monitoring period,

nor were any Keyhea orders initiated.

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Mental Health Assessments for the Disciplinary Process:

MHSDS inmates received a disproportionate number of disciplinary
infractions. Caseload inmates made up 25 percent of the inmate population at CTF but
received 38 percent of RVRs written from November 1, 2004 to October 31, 2005.

About ten percent of MHSDS inmates who received infractions, or 26 inmates, were
referred for mental health assessments. Clinicians concluded that mental illness
influenced the inmates’ behavior in ten of the 26 cases.

Hearing officers did not appear to take mental health input into account in
most situations; they documented consideration of mental health or modified dispositions
in only three cases. Additional training for hearing officers was needed.

The monitor did not review the quality of mental health assessments as the
institution did not provide copies of these documents.

Transfers:

The timeliness of EOP transfers worsened due to the state-wide shortage
of EOP beds. CTF transferred 35 EOP inmates to appropriate programs during the
monitoring period. Transfers took longer than 60 days to accomplish in 11 instances; of
these 11 inmates, four were transferred with 70 days, five were transferred within 80 days
and two, within 90 days.

Access to OHU care did not appear to be a problem at CTF. On the other
hand, lengths of stay in the OHU, which rarely exceeded 72 hours during the preceding
monitoring period, slipped slightly. There were 146 admissions to CTF’s OHU during
the monitoring period. Although the information provided to the monitor did not indicate

the number of stays that exceeded timelines, data on the median length of stays for each

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month suggested that a substantial number of stays lasted longer than 72 hours in at least
five months. Complete OHU admission data was needed to assess lengths of stay fully.

In the absence of complete OHU admission data, it was also difficult to
assess accurately access to MHCB treatment. The OHU admission log did not record
referral dates, and the copy of the log submitted to the monitor as part of the paper review
was cropped short, cutting off admission dates. During a ten-month period, CTF
transferred only nine inmates to MHCB units. It appeared that access to the MHCB at
nearby SVSP was limited, and CTF instead sent inmates to MHCB units elsewhere in
CDCR, including units in CSP/Corcoran, CSP/Sac and PVSP.

Although most inmates in need of a higher level of care were still sent
either to EOP programs or to MHCB units elsewhere, CTF referred three inmates directly
to ASH during the monitoring period. All three inmates were accepted and transferred in
a timely manner. The institution did not refer any inmates to DMH’s other programs.

Other CAP Issues:

a. Partial Compliance

The quality of treatment plans could not be fully assessed. Institutional
audits found that 89 to 100 percent of treatment plans were individualized and completed
in a timely manner. The institution, however, did not provide the raw data underlying the
audit or a description of the audit methodology. Moreover, minutes from a May staff
meeting noted an increasing problem with generic treatment plans that necessitated
further monitoring.

CTF continued to have problems providing timely mental health

screenings for non-caseload inmates transferred to administrative segregation. Staff did

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not appear familiar with the department’s current policy requiring that all non-caseload
inmates receive a mental health screening within 72 hours of placement in administrative
segregation. Institutional audits assessed compliance based on an outdated standard
requiring mental health screenings for non-caseload inmates without a mental health
screening within the past year. Even applying this looser standard, an institutional audit
found that only 66 percent of 116 reviewed non-caseload inmates in administrative
segregation had received a mental health screening within the past year.

Problems with clinical follow-up for suicidal inmates discharged from the
OHU were resolved during the preceding monitoring period and remained compliant.
Custody follow-up also became compliant during the preceding monitoring period. The
institution needed only to show sustained performance during this monitoring period to
resolve the issue, but apparently no audit of compliance with this requirement this issue
was conducted.

b. Non-Compliance

The frequency of IDTT meetings for 3CMS inmates, an issue resolved
during the 13" monitoring round, was once again a problem. Institutional audits early in
the monitoring period found that 86 percent of 258 inmates received a timely annual
IDTT meeting; but the rate of compliance dropped to 77 percent later in the period.
Other audits indicated that 70 percent of 265 newly arrived inmates received an initial
IDTT meeting within 14 days of arrival, but again the compliance rate fell to 30 percent
later in the monitoring period.

The bus screening process worsened. An institutional audit of 242 charts

of inmates arriving at CTF found that just 64 percent contained bus screening forms

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properly completed on the day of arrival. Inadequate office space was cited as one of the
obstacles to compliance in this area.

Institutional Summary:

CTF had the benefit of stable staffing among its case managers and
clinical contractors as well as steady mental health leadership. Quality assurance efforts,
however, suffered a setback due to a key personnel change. As a result, many issues
were not audited late in the monitoring period. Earlier completed audits, however,
confirmed sustained compliance in several areas resulting in the resolution of eight new
issues. Continuing non-compliance or slippage was noted in some other areas, and the
status of several issues could not be assessed due to the lack of sufficient data provided in
the paper review.

Several medication management issues could not be evaluated because of
inadequate auditing, including medication continuity on renewal, parole medications,
medication errors and DOT. Improvement in laboratory testing and HS medications was
confirmed, while medication continuity on arrival and follow-up to medication non-
compliance remained troubled. Among transfer issues, access to the OHU and MHCB
treatment were difficult to evaluate because the institution provided incomplete data. The
timeliness of EOP transfers and lengths of stay in the OHU worsened. Finally, CTF still
had not implemented fully the mental health assessment component of its disciplinary
process. Hearing officers did not appear always take mental health input into account in
rendering their dispositions.

As to remaining CAP issues, slippage was noted in the timely processing

of newly arriving inmates. Initial IDTT meetings, too, were often untimely, and bus

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screenings were inconsistently completed. Mental health screenings for non-caseload
inmates entering administrative segregation were often delayed. Despite these slippages,
CTF seemed to sustain compliance in most areas and was able to resolve numerous
outstanding CAP deficiencies. CTF should continue to be monitored via paper review,
but needs to revive its quality assurance process and provide better proof of its practices.

Service Area G

Service Area G includes the California Men’s Colony (CMC), Wasco

State Prison (WSP) and North Kern State Prison (NKSP).

California Men’s Colony (CMC)
November 21, 2005 — November 22, 2005

CMC had a 12 percent mental health staffing vacancy rate among 93.5
allocated positions. Positions for 1.75 psychiatrists, a half-time senior psychologist
specialist, 4.5 psychologists, a psych social worker and three recreation therapists were
vacant. Contract clinicians covered roughly 63 percent of the unfilled positions, seven of
which were in the EOP program.

Among auxiliary staff, 30 of 53 MTA positions were vacant, as was one of
five senior MTA positions; another senior MTA was on long-term sick leave. Other
auxiliary staff vacancies included 4.9 medical transcribers, two health records techs, one
office tech and three office assistants. Among 68 allocated RN positions in CMC, an
extraordinary 39 (57 percent) were vacant.

The capacity for the institution’s EOP program increased from 530 to 580
beds in early September 2005. Additional mental health positions were allocated to

accommodate the increase, including three case managers, a psych tech and an office

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tech, but none of these positions had even been established at the time of the monitor’s
visit.

Quality Management:

The quality assurance process, which was organized in accordance with
the state’s hospital licensing laws, continued to function well. The institution’s
interdisciplinary quality assurance mental health committee was significantly reorganized
after August 2005 and began to meet bimonthly instead of monthly.

CMC had five mental health QITs underway during the monitoring period.
The QITs focused attention on a number of issues, including the provision of structured
therapeutic out-of-cell activities, intake procedures and mental health treatment in
administrative segregation. The institution, moreover, continued to conduct
methodologically sound and effective audits, both for QITs and the measurement of
institutional performance generally.

Peer review was conducted among psychiatrists, psychologists and psych
social workers. All clinicians were evaluated as part of the peer review process at least
every two years. In addition, chart reviews were conducted through the peer review
process, although not on a monthly basis; psych social workers met bimonthly and
recently began reviewing charts, while psychologists met once in the past year to review
randomly selected charts.

Medication Management:

Continuity of medication on arrival remained adequate. Procedures were
reportedly in place for referring inmates arriving on psychotropic medications to mental

health for evaluation. Pursuant to local procedures, arriving inmates who claimed

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without proof to be on medication reportedly were referred to the physician on duty, but
implementation of this procedure was not documented. According to an institutional
audit, only one of 54 surveyed inmates waited longer than 24 hours for a first dose of
medication.

Medication continuity for inmates changing housing locations also
remained satisfactory. Progress was noted with respect to transfers to administrative
segregation. An institutional audit of medication delivery for inmates placed in
administrative segregation in February indicated only 57 percent of inmates received
their medications in a timely manner, and instances of incomplete documentation or gaps
in medication during the first 24 hours of placements were common. Eight months later,
an October audit found significant improvement, with 87 percent of inmates receiving
their medications without interruption.

CMC had a system in place to address continuity of medication on
renewal. The institution indicated that it reviewed 64 inmate files and found no lapses in
medication due to the expiration of a medication order. Inmates reportedly were seen
prior to their medication renewal dates, but no data was provided to confirm clinical
contacts. According to the institution, 14-day medication continuance orders were rarely
used.

The definition of medication non-compliance was broadened during the
monitoring period. Follow-up to medication non-compliance, however, suffered from the
lack of sufficient nursing staff. Procedures for follow-up were in place, but MARs were
not always reviewed on time, particularly when designated nurses were either ill or on

vacation.

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CMC had a procedure in place for handling medication errors. Consistent
with this, medication error reports were completed and reviewed. The institution did not,
however, have a method for determining what percentage of medication errors remained
unreported. In 2005, no medication errors causing significant adverse effects to caseload
inmates were reported.

CMC did not track the timeliness of psychiatric responses to staff and
inmate referrals. Urgent referrals were required to be seen within one day and routine
referrals within one week, but no data was available to determine whether these timelines
were being met.

Parole medications reportedly were still provided to inmates on discharge,
and a log of refusals and retuned medications was maintained by the pharmacy. The
institution audited the list of paroling inmates and found it to be accurate.

Documentation of parole medications was not filed in inmates’ UHRs.

HS medications were still prescribed for only a few inmates. CMC had
still not developed a plan to administer HS medications whenever clinically indicated.
The problem was compounded by a recent custody decision to close all yards by 8:30pm,
which meant that yards began shutting down at 8:15pm. According to the institution,
Keyhea orders were still prescribed for inmates in need of such medications and reviewed
in a timely manner.

DOT medications were not administered at CMC due primarily to the
nursing shortage. Instead, inmates were reportedly prescribed a liquid form of
medication or administered crushed medications. Nurse administered medications were

reportedly still observed and supervised on a periodic basis. The institutional pharmacy

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management information system remained primitive, and plans for replacing the system,
noted in the preceding monitoring period, were not implemented.

Most pill lines functioned smoothly and expeditiously. A well designed
institutional study conducted on two quads found that 90 percent of the 2,351 inmates in
ten different pill lines waited less than 20 minutes for their medications.

MARs were not generally filed in UHRs in a timely manner. Filing delays
of 30 to 60 days were common. Refusals and no-shows were still documented on the
forms, but the legibility of the forms had not improved, and it was difficult to
differentiate among multiple entries.

In contrast, informed medication consent forms were generally filed in
inmates’ charts. An institutional audit in August 2003 reviewed 232 charts and found a
total of 435 medications requiring consent forms. The study found completed informed
consent forms for psychotropic medications in most cases; only two of 11 psychiatric
caseloads showed less that 90 percent compliance with program requirements in this area.

Mental Health Assessments for the Disciplinary Process:

In addition to providing an inmate’s name, number and level of care, RVR
logs included the date a mental health assessment was requested, the date the assessment
was due, the date it was completed and the name of the clinician conducting the
assessment. The logs also tracked the nature of the violations, whether mental illness was
found to be a factor in evaluated inmates’ behavior and hearing officers’ dispositions.
CMC reported that it tracked 98 percent of all RVR mental health assessments.

From October 2004 through October 2005, 525 RVRs were issued to EOP

inmates and 1,140 issued to 3CMS inmates. According to the institution, mental health

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assessments were completed for all of the EOP inmates, for 166 of the 3CMS inmates
and for 16 general population inmates. With one exception, clinicians other than
inmates’ case managers completed all mental health assessments.

Hearing officers appeared to take mental health input into consideration.
Based on the tracking system, the institution reported that clinicians found that mental
illness contributed to inmates’ behavior in 48 percent of the assessed cases. Of these
cases, hearing officers indicated that clinical findings were influential in 83 percent of
their dispositions; hearing officers either dismissed charges or mitigated penalties in a
majority of these cases. Of the 15 RVRs reviewed by the monitor, clinicians found
mental illness was a contributing factor in five instances; hearing officers mitigated
penalties in three of the five cases.

CMC maintained a log that adequately tracked referrals to the district
attorney’s office. From January through October 2005, 49 incidents involving caseload
inmates were referred to the district attorney, of which 31 were rejected, ten were
pending a decision and five were accepted. Staff reported that CMC had reached an
agreement during the monitoring period with the district attorney’s officer establishing
standards for referrals.

Transfers:

Data on transfers to higher levels of care was limited. CMC provided
information on transfers from mid-September through October 2005, but there was no
reliable and verifiable information on referrals, acceptances and transfers to DMH
facilities, including ASH, for any prior period. The institution planned to develop a QIT

aimed as implementing an effective tracking system.

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MHCB transfers were extremely problematic for CMC. Access to MHCB
treatment declined sharply in March 2005. In July, the institution reportedly was unable
to place even one inmate ina MHCB unit. According to the institution, most inmates in
need of MHCB care remained in the OHU until stable and returned to their housing unit
without ever receiving a MHCB placement. CMC was supposed to use ASH acute care
beds for its MHCB inmates, but access reportedly was limited during most of the
monitoring period due to ASH’s reluctance to admit inmates with personality disorders
and concerns about inmates on administrative segregation status. In September 2005,
ASH and CMC began a collaborative effort to expedite the admission process. ASH sent
a clinician to CMC at least weekly to join a team reviewing inmates in the OHU for crisis
bed admission. From September 19 through November 2, 95 inmates were reviewed
pursuant to this joint effort. Of these, 32 inmates, or 33.6 percent, were accepted by ASH
and 29 were actually transferred; 54 inmates were rejected, and referrals of nine were
rescinded.

The OHU functioned well and provided an array of services, but remained
an inadequate substitute for an MHCB unit. The OHU was generally full because of the
problems with access to bona fide MHCB care. As a result, lengths of stay in the OHU
often exceeded three days. From April 1 through September 30, 2005, 419 of 989
admissions to the OHU involved a length of stay longer than three days. Roughly nine
percent of these admissions lasted more than two weeks, and the stays of six exceeded 60
days. In addition, problems persisted with multiple admissions to the OHU. During the
three-month period from September through the first three weeks of November, 39

inmates were admitted three or more times to the OHU. Of 20 inmates with four

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admissions during this period, 17 were transferred to higher levels of care. From April
through September 2005, 184 inmates had two or more admissions to the unit.

The institution reported that transfers to intermediate care beds at ASH
were timely, and that transfers to DMH/CMF generally occurred quickly. In contrast,
inmates transferred to DMH/SVPP usually waited months.

Transfers to PSUs were also delayed. From January through September
2005, 27 inmates were transferred from CMC to PSUs. These inmates consistently spent
a significant period of time in administrative segregation prior to transfer.

Other CAP Issues:

a. Partial Compliance

The amount of scheduled structured therapeutic activities afforded general
population EOP inmates improved significantly. During the monitoring period, CMC
opened a new mental health building that included additional EOP treatment space and
new office space. The institution also redirected 3CMS recreational therapy resources to
serve the EOP population. According to the institution, EOP inmates were offered an
average of 11.65 hours of treatment and received 6.39 hours during the period from
February 14 to May 1, 2005. During the period from August 1 through September 4,
2005, inmates were offered on average 14.39 hours of treatment and received 9.55 hours.
The institution’s efforts to increase activities for participants in EOP included the use of
selected inmates as recreational therapist aides. The use of inmates to provide direct
treatment services to EOP inmates, even if supervised by mental health staff, was
inappropriate. The institution equally inappropriately used selected inmates to locate

non-participating inmates and encourage them to attend scheduled group activities. For

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this issue to be resolved, CMC needed to maintain their compliance without relying on
the use of inmate aides. EOP inmates continued to be seen on a weekly basis by their
case managers.

During the monitoring period, the institution significantly reduced the
number of unmotivated or treatment-resistant inmates in the EOP program. Enforcement
of the A1A policy, which required inmates to join in programming in order to earn day-
for-day credit, helped to increase the level of participation. A pilot program initiated
during the preceding monitoring period to encourage greater inmate participation was
endorsed as a successful concept by the QIT studying the problem. As a result, an
expanded transition program for unmotivated or treatment-resistant inmates was initiated
on May 9, 2005. At the time of the monitor’s visit, 11 inmates had been referred to the
program, most of whom were attending group therapy sessions regularly. One participant
attended only intermittently, while three still did not participate at all.

The MHTS improved further during the monitoring report. According to
the institution’s status report, additional computer equipment and data entry personnel
were acquired. An institutional concordance study reportedly found that the MHTS was
consistent with entries in inmates’ UHRs more than 90 percent of the time. The MHTS
also was used to generate a number of different reports and track a wide range of
information, including case management contacts, IDTT meetings, MH-2 data, treatment
hours and missed appointments. Despite assertions that inmates were not allowed access
to confidential information, the monitor’s expert personally observed two inmates

inappropriately using the MHTS, which included medical records, for scheduling

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purposes. This issue was nearing resolution and can likely be resolved once inmates no
longer have access to the system.

b. Non-Compliance

Little improvement occurred in the treatment afforded EOP inmates in
administrative segregation. During the monitoring period, therapy groups were separated
by level of care, which reportedly resulted in EOP inmates being offered more than ten
hours of structured therapeutic activities per week. Data provided by the institution,
however, reflected a decline in the total amount of structured out-of-cell activities offered
to EOP inmates from 350 hours a week to 280 hours, in part due to the competing needs
of the 3CMS administrative segregation program. Actual participation of administrative
segregation EOP inmates in group therapy remained low, averaging only about four
hours per week. The institution made a number of modifications to the EOP program in
administrative segregation to increase attendance, including the provision of jackets for
inmates who had to cross the yard in cold weather to participate in group activities and
moving morning group therapy sessions to a later time for inmates who were groggy
from their medications. Despite the efforts, inmate participation remained a serious
problem.

A QIT established to determine the cause(s) of administrative segregation
EOP inmates’ low participation in groups identified a number of challenging
environmental and custody factors, the most critical of which may have been inadequate
programming space. The therapeutic modules used in the gymnasium for group activities
were actually security holding cells, which were too small for programming and offered

no audio privacy. Indoor recreation was substituted for outdoor recreation because of the

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lack of walk-alone cells in the yard, although the institution reportedly planned to
construct walk-alone cages in the yard to remedy the problem. Office space was
insufficient to provide safe and confidential out-of-cell clinical contacts. The lack of
adequate office space, when combined with staffing shortages, meant that an increasing
number of case management contacts occurred at cell front during the monitoring period,
particularly when case managers were on vacation or sick leave. CMC had been
promised a double-wide trailer to provide additional programming and office space for
the administrative segregation hub unit, but the trailer was never delivered, despite
increases in the hub unit population. On the positive side, psych tech rounds continued to
be conducted regularly, and inmates newly arrived in administrative segregation were
seen promptly both individually and in IDTT meetings.

CMC reported that it had implemented CDCR’s heat policy, but admitted
that it had not filed required heat reports with the department. As a result, the monitor
was unable to verify compliance with heat requirements. This issue, once resolved, needs
continued monitoring.

Among other issues considered during the monitoring round unrelated to
the institutional CAP, CMC provided CPR training to custody officers on October 24,
2005. A class list confirmed attendance by 770 officers. The institution expected to
complete all required training by early December 2005. The monitor’s spot check of 15
recently trained officers found only one officer without a mouth shield.

CMC also began local implementation of the department’s new policy on
exhibitionism and public masturbation. Seven inmates received initial assessments under

the policy. Six other sexual misconduct RVRs had also been issued, but the screening

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process was still incomplete at the time of the monitor’s visit. One case of exhibitionism
had been diagnosed; the inmate had been evaluated, referred to DMH and was scheduled
for transfer during the week of the monitoring visit. The institution acknowledged that it
had not yet determined how to implement the treatment portion of the new policy, since
no local staff had any specialized training in handling exhibitionism.

There was no video monitoring equipment installed in the institution’s

hospital or OHU.

Institutional Summary:

CMC had a moderate amount of clinical vacancies that were partially
covered by contract services. Auxiliary staff was more severely strained. Shortages
among RNs and MTAs were quite high and indirectly impacted substantially on some
aspects of mental health services.

Among the four issues of focus in this round, the institution’s quality
assurance process continued to make substantial progress. The mental health committee
met regularly, QITs were operating and peer review had been implemented in all of the
mental health clinical disciplines. Mental health input into the disciplinary process was
also functioning well. CMC maintained adequate logs that tracked RVRs, and hearing
officers appeared to take mental health input into account in reaching their
determinations.

CMC did not have reliable data on transfers to higher levels of care,
except for the most recent months, but it was clear that the institution had serious
problems with access to MHCB treatment and PSU care during the monitoring period.

Transfers to intermediate care at ASH and to DMH/CMF appeared timely, while transfers

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to DMH/SVPP were often delayed. Lengths of stay in the OHU were often excessive,
and a significant number of inmates had repeated admissions to the unit without referrals
to more intensive levels of mental health treatment.

CMC did not comply with all medication management requirements.
Continuity of medication on arrival, housing changes and renewals were good; parole
medications were provided to inmates discharged from the institution; pill lines were
operating well; and medication consent forms were usually filed in inmates’ charts.
Follow-up to medication non-compliance, as well as the administration of DOT and HS
medications, all suffered from insufficient nursing staff. In addition, problems persisted
with the timeliness and legibility of MARs.

CMC had only a few unresolved CAP items remaining. Progress was
steady in providing structured therapeutic activities to general population EOP inmates,
reducing the percentage of unmotivated or treatment-resistant inmates in the EOP
program and implementing the MHTS. On the other hand, the institution was having
difficulty providing adequate treatment to EOP inmates in administrative segregation due
largely to a lack of adequate programming and office space and still did not track the
timeliness of psychiatric responses to inmate and staff referrals. Some serious slippage in
the institution’s heat plan was another concern.

Overall, CMC continued to operate its mental health program well and
improve performance in most areas. A couple of remaining issues could be resolved, if
the institution were to cease involving inmates in the provision of mental health services.
Other issues, like MHCB transfers and EOP programming, required greater local efforts

and departmental support.

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Wasco State Prison (WSP)
February 16, 2006 — February 17, 2006

Mental health staffing emerged as a major problem at WSP during the
monitoring period. A number of clinicians resigned to work at nearby DMH and other
CDCR facilities, leaving WSP with a mental health staff vacancy rate of 28.2 percent.
Positions for a chief psychiatrist, a senior psychiatrist, five staff psychiatrists, a chief
psychologist, a senior psychologist, 5.5 staff psychologists, a psych social worker, a
recreational therapist, a psychometrist and a half-time office tech were all vacant. One
result was increased caseloads for case managers, ranging from 115 to 130 inmates.
WSP also had a shortage of MTAs; only 20 of 31 allocated MTA positions were filled.

Over the past few years, WSP has been able to retain a stable group of
clinicians and rarely needed to obtain contracted services. The recent increase of staffing
vacancies, however, forced the institution to acquire contract clinicians. Contract
psychiatrists filled the equivalent of just two full-time positions but, at the time of the
monitor’s visit, they were the primary providers of psychiatric care in the institution.
WSP needed to assess whether contract clinicians were receiving adequate supervision.
Five of the MTA vacancies were also covered by contractors.

The mission of WSP shifted somewhat during the monitoring period. A
portion of the mainline was converted in an overflow reception center, reducing the
general population 3CMS program by approximately 50 percent. Overall, however, the
MHSDS population rose to 1,423 inmates, far in excess of the institution’s stated
capacity of 1,049 inmates. The number of caseload inmates in administrative segregation
increased to 56 and, while WSP lacked any EOP resources, 90 EOP inmates were in the

institution at the time of the monitor’s visit.

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Issue Resolved:

Medical records were organized and documents were no longer missing or
misfiled in UHRs.

Quality Management:

WSP’s quality management committee met monthly from March through
December 2005. Minutes of the meetings reflected meaningful efforts to address mental
health issues. The institution also had an active mental health subcommittee, which met
monthly from February through December 2005.

The mental health subcommittee chartered several QITs to study critical
issues, including DOT, laboratory testing and mental health treatment in the
administrative segregation overflow unit. Ongoing staffing shortages and increased
workloads, however, caused the QIT process to suffer, particularly with respect to the
frequency of team meetings, minutes and follow-up.

Chart reviews were conducted through the institution’s auditing process.
A number of different issues affecting the CTC, general population programs and
administrative segregation were examined in this manner. The results of chart reviews
were reportedly shared with the staff by supervisors through meetings and memoranda.
The monitor compared 20 UHRs to inmate histories from the MHTS and found a
concordance rate higher than 90 percent.

Peer review, conducted regularly for psychiatrists and psychologists over
the last several years, was discontinued due to staff turnover. Psychiatry peer review was

suspended in December 2005, while psychology peer review ended in August 2005.

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Medication Management:

WSP still used the same local operating policy for medication
management in effect during the preceding monitoring period. While otherwise helpful,
the policy did not cover laboratory testing or informed medication consent forms.

Continuity of medication on arrival improved during the monitoring
period. An institutional audit of 90 UHRs in December 2005 found that 22 of 25
surveyed inmates arriving on medications received prescriptions on arrival, and 21 of the
22 inmates received their first dose of medication within 24 hours. The institution had no
written policies on inmates who arrived with unverified claims of medication, and no
documentation reflected that this issue had been addressed by the institution.

Medication continuity for inmates changing housing locations improved
slightly but was still poor. The institution’s December 2005 audit reviewed 78 housing
moves and found medication interruptions in 45 percent of them, compared with 56
percent during the preceding monitoring period. Staffing shortages appeared to be a
significant impediment to compliance in this area. In addition, custody staff did not
consistently provide clinical staff with copies of housing change forms.

Continuity of medication on renewal also slipped during the monitoring
period, but most medication orders were still renewed prior to expiration. An
institutional audit for the period from September 1 through November 30, 2005 found
that 90 percent of 109 reviewed medication orders were renewed without interruption.

Follow-up to medication non-compliance remained inadequate.
Institutional audits indicated that inmates were not consistently referred to mental health

following repeated instances of medication non-compliance. Moreover, due to staffing

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shortages, referred inmates were rarely seen by a clinician within seven days as required.
An institutional audit from September 1 through November 30, 2005 found 78 referrals
for non-compliance, of which only 18 were seen by a clinician within seven days.
According to MHTS data, the average time from the date of a referral to the date of an
appointment during the monitoring period was 17.1 days.

WSP continued to provide paroling inmates with a 30-day supply of
medication upon discharge. The pharmacy retained parole medication forms
documenting caseload inmates who were offered and received or rejected discharge
medications. The institution, however, did not file these forms in inmates’ UHRs.

Nothing changed with regard to laboratory testing for inmates on mood-
stabilizing medications. WSP still made no attempt to track whether laboratory tests
were ordered for all inmates on mood-stabilizing medications or whether test results were
returned in a timely manner. Similarly, no audits assessed whether psychiatrists reviewed
laboratory test results or made adjustments in medications in response to abnormal
results.

In the preceding monitoring period, the institution’s medication policy did
not distinguish between DOT and nurse administered medications; all medications at
WSP were nurse administered. Nothing seemed to change during the current monitoring
period. No list of inmates with medications to be delivered via DOT was generated in the
facility. Monitoring of the delivery of DOT and nurse administered medications
reportedly was conducted via a medication management audit, which, during the first two

months of 2006, reported no problems. Inmates suspected of cheeking or other forms of

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non-compliance reportedly were referred to mental health, but WSP did not track such
referrals.

Inmates in need of involuntary medication were generally transferred to a
higher level of care as soon as possible. Since February 2005, just three inmates were on
Keyhea orders while in WSP. At the time of the monitor’s visit, one inmate had a
Keyhea order for involuntary medication. There was no record of any Keyhea order
having expired inadvertently.

HS medications still were not provided at WSP, and deliveries of
medication did not occur after 8:00 p.m. The final pill line of the day occurred between
2:00 and 3:00 p.m.

The institution’s system for completing and compiling medication errors
continued to function well. Medication error reports were reviewed monthly or more
frequently at meetings of the pharmacy services committee. Minutes of the meetings
reflected good discussion of medication errors, but recommendations were not
consistently documented.

WSP began using the new MAR forms during the monitoring period, but
no-shows and refusals were not consistently documented. Institutional audits for January
and February 2006 indicated that only about 72 percent of no-shows and 91 percent of
refusals were documented in inmates’ MARs. The institution provided MTAs with
training on procedures for documenting the new MARs, but MTA vacancies complicated

compliance. On the other hand, MARs were more consistently filed in inmates’ charts in

a timely manner.

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Fewer informed medication consent forms were found in inmates’ charts
during the monitoring period. Institutional audits for December 2005 looked at 138
UHRs and found that only 61.6 percent contained signed medication consent forms.
Resurgence of this problem was attributed in part to the increased use of contract
psychiatrists to cover permanent staffing vacancies.

Mental Health Assessments for the Disciplinary Process:

Disciplinary logs showed that MHSDS inmates, who represented roughly
a quarter of the total WSP population, received 19.8 percent of all RVRs written in the
institution from March 1 through December 31, 2005. Between February 2, 2005 and
January 6, 2006, 126 mental health assessments were completed, including 63 for EOP
inmates, 60 for 3CMS inmates and three for MHCB inmates. WSP did not conduct any
audits to determine whether inmates exhibiting bizarre or unusual characteristics were
appropriately referred for mental health assessments. Nor did the institution conduct any
audits to determine whether clinicians consistently interviewed inmates and reviewed
their UHRs and C-files in preparing assessments. Moreover, no effort was made to
assess the quality of information provided in mental health assessments or determine
whether hearing officers considered mental health input in reaching their dispositions.

The department’s new sexual misconduct policy reportedly went into
effect at WSP on January 17, 2005. By the time of the monitor’s visit, the institution had
completed four initial screening evaluations and three IDTT meetings pursuant to the
policy. No instances of exhibitionism had as yet been diagnosed. WSP had not yet

implemented the custody component of the Pelican Bay model. The institution also

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reported that it lacked clinicians with the expertise required to provide the treatment
specified in the department’s policy.
Transfers:

The institution took steps earlier to address delays in access to care.
Clinicians met monthly to identify and discuss inmates who might require referral to
intermediate or acute DMH care. These meetings were suspended from November 2005
through January 2006, but reportedly resumed in February 2006.

Inmates were generally transferred to DMH in a timely manner. Of 66
inmates identified as needing a higher level of care during the monitoring period, 15 were
referred and accepted for the APP/DMH at CMF, 14 of whom were actually transferred.
These inmates, on average, waited 16 days for transfer, with individual waits ranging
from three to 27 days. Among the other 66 inmates identified with a need for more
intensive treatment, 12 were referred to DHM/CMEF and SVPP for intermediate care; one
was referred to ASH; ten were referred to EOP programs; and the remainder were
eventually deemed clinically to have been stabilized at their current levels of care.
Inmates in need of higher levels of care were often housed in the MHCB unit while
waiting for transfer, sometimes forcing WSP to house other local inmates in need of
crisis care in alternative housing. Length of stays in the MHCB unit for December 2005
and January 2006 for inmates transferring to DMH averaged 20.5 days.

The timely transfer of reception center inmates remained problematic. As
of February 16, 2006, 74 EOP inmates were in the reception center at WSP. According
to an institutional audit, 43 percent of these inmates had been in the reception center for

more than 60 days, while nine inmates had been there for more than five months; three

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more recent additions had lengthy histories of MHCB admissions. The monitor reviewed
the UHRs of six EOP inmates in reception; none of the charts contained current treatment
plans. EOP inmates in reception generally received weekly case management contacts.
The provision of weekly clinical contact for so many EOP inmates for such lengthy
periods of time was a severe drain on the institution’s limited staffing resources.

The timeliness of EOP administrative segregation transfers continued to
suffer from the shortage of beds in hub administrative segregation units. According to
institutional data, 68 EOP inmates were housed in the administrative segregation unit
during the preceding 12 months. Only 27 of these inmates were transferred within the
30-day deadline; another 24 inmates were transferred within 60 days. At the time of the
monitor’s visit, seven EOP inmates had been in the administrative segregation unit over
60 days.

The quality of video monitoring equipment in the CTC was acceptable.
There were two monitors in the nurses’ station, one of which displayed four rooms
simultaneously on a split screen, while the other showed a full-screen view of one of the
four rooms. The images were in color and generally well defined, although the detail was
limited on the split screen view. Blind spots existed in all four of the cells due to the
angle of camera placements. WSP used video monitoring as a supplement to one-on-one
monitoring for inmates on suicide watch. Inmates on suicide watch continued to be

observed at cell front by correctional officers.

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Other CAP Issues:

a. Partial Compliance

IDTT meetings were generally held in a timely manner, with most of the
required staff in attendance. Psychiatrists, however, often were not present at IDTT
meetings.

The monitor’s limited review of ten charts found some slippage in the
completion and quality of treatment plans, issues that were previously resolved. Of the
ten charts reviewed, only five contained a current MH-2, while just two of the five
completed treatment plans were individualized; consideration of group therapy was
mentioned in just three treatment plans.

While the composition of the suicide prevention committee, and the
frequency with which the committee met, worsened during the preceding monitoring
period, WSP managed to rectify these problems during the current monitoring period.
The committee resumed meeting monthly and included both medical and mental health
staff, as well as custody representatives. This issue will be resolved if compliance
remains at this level for another monitoring period. Similarly, problems with the
documentation of suicide watch/precautions improved. Institutional data showed that
three inmates were placed on suicide watch/precautions during the monitoring period.
Institutional audits of all three inmates’ records, confirmed by the monitor’s review of the
two most recent records, found that suicide watch/precautions documentation was
generally legible and complete. This issue, too, will be resolved if compliance continues
during the next monitoring period.

Problems with the frequency of case management contacts with EOP

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inmates were resolved earlier. Between 95 and 100 percent of EOP inmates
received weekly case management contacts through November 2005. Thereafter, the
frequency of contacts slipped a bit due to serious staff shortages. Absent further
deterioration, the issue will remain resolved.

b. Non-Compliance

The provision of group therapy for 3CMS inmates decreased from three
groups totaling 45 inmates in May 2004 to one group of 12 inmates with five 3CMS and
seven non-caseload inmates in January 2005. Even this one group was discontinued in
May 2005, when the clinician leader was transferred to the POC. Another group was
started in May and operated through August 2005, but this group too was discontinued
when its leader transferred to another CDCR facility. Staffing shortages reduced the
likelihood of developing new groups; only one case manager was assigned to the more
than 100 inmates in the general population 3CMS program.

Staffing shortages severely compromised the institution’s ability to
provide timely psychiatric responses to inmate referrals. According to an institutional
audit of 90 charts for the period from September through November 2005, there were 78
mental health referrals for medication non-compliance. Only 18 inmates, or 23 percent
of the number referred, were seen within seven days of the last missed dose.

Follow-up monitoring for suicidal inmates discharged from the MHCB
unit remained unchanged. Clinical follow-up was provided regularly, but custody
follow-up was inconsistent. An institutional audit indicated that among 198 suicidal

inmates discharged from the MHCB unit between February 23, 2005 and January 4,

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2006, five-day clinical follow-up was provided to 99 percent of those discharged, while
custody checks were documented for only 21 percent.

Access to confidential interview space for clinical contacts in the
administrative segregation unit continued to be a problem. Clinical contacts occurred in a
room with a correctional officer present. Reportedly, no other space was available.

The timeliness of mental health screenings and evaluations in reception
declined during the monitoring period due largely to case manager vacancies. At the
time of the monitor’s visit, approximately 144 inmates were overdue for a mental health
screening and as many as 540 referred inmates were awaiting mental health evaluations.
The institution also had a problem providing quarterly case management contacts for
reception center 3CMS inmates. According to data from the MHTS, only 50.2 percent of
3CMS inmates in reception received 90-day contacts.

WSP conducted CPR training on the day of the monitor’s visit for all
correctional officers, except those on long-term sick leave. The monitor interviewed 14
correctional officers and found that all of them had mouth guards on their persons. A
memorandum from the warden ordered supervisors to conduct daily mouth guard checks.

Institutional Summary:

WSP lost ground during the monitoring period. Staffing shortages and
increased caseloads impacted negatively on most areas of focus, as well as several
remaining unresolved CAP items. Quality management efforts lagged due to the staffing
shortages, particularly with respect to QITs and peer review. The quality management
committee and the mental health subcommittee, however, remained active, and chart

reviews were conducted through the auditing process.

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Some aspects of medication management showed progress, including
medication continuity for arriving inmates, parole medications, medication errors,
involuntary medications and MARs. On the other hand, WSP’s system for the delivery
of medication still had some significant deficiencies, including problems with the
continuity of medication for inmates on changes in housing location and renewal, follow-
up to medication non-compliance, HS medications and the acquisition of informed
medication consent forms. WSP also needed to audit laboratory testing issues for
inmates on mood-stabilizing medications and straighten out its messy implementation of
DOT and nurse administered medications.

Transfers to DMH were generally timely, but there were significant delays
in the transfer of EOP inmates. VSPW’s reliance on the use of its own OHU to stabilize
inmates in crisis in combination with its underutilization of CCWF’s MHCB unit created
both directly and indirectly deleterious effects, including unnecessarily lengthy stays in
the OHU. The institution’s failure to audit mental health input into the disciplinary
process made it difficult to evaluate the assessment process and its impact on the outcome
of disciplinary hearings.

Problems with the suicide prevention committee were corrected during
this monitoring period, but other outstanding CAP issues deteriorated. Slippage was
noted in the provision of group therapy to 3CMS inmates, the completion and quality of
treatment plans and the timeliness of psychiatric responses to mental health referrals. In
addition, the institution failed to meet applicable timeframes for conducting mental health
screenings and evaluations in the reception center or provide consistent custody follow-

up for suicidal inmates discharged from the OHU or CCWF’s MHCB unit. Psychiatric

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attendance at IDTT meetings and access to confidential interview space in administrative
segregation continued to be deficient.
Overall, WSP’s staffing woes badly stalled progress toward compliance.

The institution needed to increase its hiring efforts and work to regain what it lost during

the current monitoring period.

North Kern State Prison (NKSP)
December 19, 2005 — December 20, 2005

Positions for a senior supervising psychiatrist, a staff psychiatrist, a half-
time recreational therapist, three mental health nurses and 2.5 office techs were vacant.
The institution had recently been allocated additional positions for 2.5 psychiatrists and
four psychologists. Contract services more than covered the clinical vacancies.
Psychiatric coverage, however, was provided by five to eight different contractors,
compromising continuity of treatment. The institution also suffered from a lack of
psychiatric supervision, which was a problem for contract clinicians, particularly for
those who generally worked on weekends.

NKSP was also troubled by auxiliary staff vacancies in its pharmacy and
the medical records section. The institution was allocated three pharmacist positions, all
of which were vacant and covered by contractors. It appeared that the current pharmacy
allocation was insufficient to meet the demands of the increasing mental health
population, particularly on weekends. Staffing shortages among medical records
personnel included three medical records technicians, while two other medical records
employees were on long-term disability leave. Among other auxiliary staff, positions for
2.8 nurses, three MTAs and a clinical laboratory tech were vacant. The RN vacancies

were covered by registry staff.

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NKSP experienced facility-wide overcrowding. The EOP population
almost doubled during the monitoring period, and 53 EOP inmates, all but one of them in
reception, were awaiting transfer at the time of the monitor’s visit. The number of
reception center inmates also increased significantly during the monitoring period, and
the institution began to house inmates in gymnasiums and dayrooms.

Issues Resolved:

The mental health quality assurance subcommittee was functioning well.
Peer review had been effectively implemented.

Quality Management:

The institution’s overall healthcare quality management committee was
not functioning, but NKSP’s local governing body and its mental health subcommittee
met monthly with rare exceptions and maintained minutes of their meetings. The
composition of the mental health subcommittee was interdisciplinary, and minutes of
subcommittee meetings reflected meaningful efforts to address service delivery problems.
The suicide prevention committee also met monthly and included mandated and
recommended participants.

Seven QITs were operating during the monitoring period, including QITs
on referral responses, medication refusals, laboratory testing and some aspects of the
RVR process. In general, the QITs progressed slowly and, with one limited exception,
did not appear to engage in significant problem solving. On the other hand, NKSP
audited compliance with requirements in every major service area each month. It was

unclear whether the results of audits were shared broadly with the mental health staff.

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Peer review for psychiatrists, psychologists and psych social workers continued to
function adequately.

NKSP did not use the MHTS to its fullest extent. Staff monitored the
MHTS monthly for concordance with charts and produced a number of different reliable
and helpful reports. Despite this, significant data problems were apparent in a few areas,
especially with respect to the priority transfer process. In addition, due in part to staffing
turnover, clerical staff was not trained to handle all standard MHTS functions, like the
automatic scheduling of appointments.

Medication Management:

The institution finalized its local medication management policy in early
October. The policy appeared to conform to departmental procedures, but some issues,
such as laboratory testing and medication informed consent forms, were not addressed in
either local or departmental policies.

Continuity of medication for inmates arriving at the institution was good.
An institutional audit for the period from June 1 to October 31, 2005 found that
medications were ordered within eight hours of arrival for 81 percent of new inmates and
that ordered medications were received in a timely manner by 86 percent of newly
arriving inmates. Procedures remained in place for handling arriving inmates who
claimed without proof that they were on medications.

Continuity of medication for inmates changing housing locations also
improved, but required further monitoring. An institutional audit showed that 86 percent

of inmates from June 1 through October 31, 2005 received their medications in a timely

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manner after moving to different housing units. Staff reported some medication lapses
after inmates were discharged from the MHCB unit.

Continuity of medication at the time of renewal declined during the
monitoring period from 92 to 76 percent. The monitor’s chart review revealed gaps in
medication on renewal lasting seven to ten days. It appeared that MTAs were erratic in
reporting upcoming expirations. Renewal continuity was also compromised by
psychiatric vacancies, the use of poorly supervised contract clinicians and clerical staff's
inability to operate the MHTS’s automatic ducating system. A QIT was established to
study this issue.

Psychiatric responses to medication non-compliance improved, but still
were not compliant. During the preceding monitoring period, the response rate was
extremely poor. Institutional data provided to the monitor for the current monitoring
period indicated that 66 percent of 254 inmates received a response within seven days of
referral and another 11 percent received a response a day later. Refusal forms were filed
in inmates’ charts. No audit had been conducted to determine whether MTAs were
referring all non-compliant inmates.

Appropriate MARs were in use at NKSP, and the legibility of completed
MARs improved. An institutional audit for the period from June 1 through October 31,
2005 found that 86 percent of the MARs entries were legible and contemporaneous. The
same audit showed that MARs were filed in 85 percent of inmates’ charts.

Once again, NKSP did not audit the provision of laboratory testing for

inmates on mood-stabilizing medications. The institution did, however, have a system in

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